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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
NEW CENTURY TRS HOLDINGS, : Case No, 07-10416 (KJC)
INC., a Delaware corporation, et al.,' :
Jointly Administered
Debtors.
Re: Docket Nos. 185 & 494
NOTICE OF FILING

PLEASE TAKE NOTICE that on April 11, 2007, the above-captioned debtors and
debtors in possession (the “Debtors”) filed their Emergency Motion to Authorize Payment of (i)
Sale-Related Incentive Pay to Senior Management and (ii) Retention and Incentive Pay to
Certain Employees Pursuant to Sections 105(a), 363(b)(1), and 503(c)(3) of the Bankruptcy
Code Hearing [Docket No. 185] (the “Motion”).

PLEASE TAKE FURTHER NOTICE that on May I, 2007, the Debtors filed their
Amendment to Debtors’ Emergency Motion for Order Authorizing Payment of (i) Sale-Related
Incentive Plan to Senior Management and (ii) Retention Pay to Certain Employees Pursuant to
Sections 105(a), 363(b)(1) and 503(c)(3) of the Bankruptey Code [Docket No. 494] (the

“Amended Motion”). Attached to the Amended Motion were each of the Debtors’ proposed Key

' The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century REIT,
Inc.), @ Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New Century Financial Corporation}, a
Delaware corporation; New Century Mortgage Corporation (f/k/a JBE Mortgage) (d/b/a NCMC Mortgage
Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a California corporation; NC Capital
Corporation, a California corporation; Homei23 Corporation {f/l/a The Anyloan Corporation, 1800anyloan.com,
Anyloan.com), a California corporation; New Century Credit Corporation (f/k/a Worth Funding Incorporated), a
California corporation; NC Asset Holding, 1.P. (f/k/a NC Residual H Corporation), a Delaware limited partnership;
NC Residual 11] Corporation, a Delaware corporation; NC Residual IV Corporation, a Delaware corporation; New
Century REO. Corp, a California corporation, New Century REO. II Corp, a California corporation; New
Century REO. UI Corp, a California corporation; New Century Mortgage Ventures, LLC (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Mortgage Group, Monticello Mortgage Services, Ad Astra Mortgage,
Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited liability company; NC Deltex, LLC, a Delaware limited liability company; NCoral, LP, a
Delaware limited partnership.

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Employee Incentive Plan and Key Employee Incentive and Retention Plan (collectively, the

“Plans”).

PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a chart (the

“Chart”) which identifies the potential payments proposed by the Debtors to be made pursuant to

the Plans. The Chart has been redacted to protect confidential information. The Debtors may

seek leave of Court to file the unredacted Chart under seal.

Dated: May 7, 2007
Wilmington, Delaware

RLF1-3147928-1

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